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US v. Nordean, conspiracy instruction

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Chambers,

We will discuss the instructions at 9:00 am, but we write to emphasize our particular objection to the below element of the
conspiracy instruction. Parts of the text in red font are sourced neither from the Red Book nor any model instruction that
we are aware of. At various points, the Court has indicated it is wary of straying from the Red Book. While it may be true
in some types of generic federal conspiracies that the conspirators need not "agree to the specific means by which the
objectives would be accomplished,” that is not the case with respect to the charged conspiracies here. Their elements
incorporate specific means (seditious conspiracy: force; 1512(k): unlawful means, as a component of "corruptly"; Section
372: force, intimidation or threat). The government must prove the defendants agreed to these means, so this part of the
instruction is in error.

No pattern conspiracy instruction that we are aware of uses the phrases "mutual understanding” and "meeting of the
minds." Those are terms of art employed by courts in legal decisions. But even there they are not "types" of agreement
but tests for determining whether a contract exists. Their meaning is not clear to lay people not trained in the law,
particularly "meeting of the minds." If the point of including them is to show that an agreement need not be in writing, it is
redundant, as the same point is made earlier in the paragraph, in green font. The law requires the government to prove
an agreement--simpliciter. We think that is what the instruction should read. We stress how prejudicial it is to the
defendants to surround every reference to agreement with qualifiers like "some type."

We think that is rhetorical language, not expositive. Thank you for considering.

To prove the existence of a conspiracy, the government is not required to show that two or more
people sat around a table and entered into a solemn pact, orally or in writing, stating that they had formed a
conspiracy to violate the law and spelling out all the details. The government also does not have to prove that
all members of the conspiracy directly met, or discussed between themselves their unlawful objectives, or

agreed to all the details,

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arrived at ——————ef agreement

+#¥ to accomplish a common and unlawful objective.
